                                                 Case 2:20-cv-01981-JAD-DJA Document 9
                                                                                     8 Filed 11/06/20
                                                                                             11/05/20 Page 1 of 3


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                                     12                                UNITED STATES DISTRICT COURT
                                                                            DISTRICT OF NEVADA
                                     13
Las Vegas, NV 89169-5996




                                     14 NICHOLAS DEFIORE, an individual; et al.,
                                                                                               Case No.: 2:20-cv-01981-JAD-DJA
                                     15             Plaintiffs,                                STIPULATION AND ORDER TO
                                     16 vs.                                                    EXTEND DEADLINE TO RESPOND
                                                                                               TO COMPLAINT
                                     17
                                        SOC LLC, a Delaware limited liability
                                     18 company registered and doing business in               [FIRST REQUEST]
                                        Nevada as SOC NEVADA LLC; SOC-SMG,
                                     19 Inc., a Nevada Corporation; DAY &
                                        ZIMMERMANN, INC., a Maryland
                                     20 corporation; and DOES 1-20, inclusive,

                                     21                 Defendants.
                                     22

                                     23            Pursuant to LR IA 6-1, LR IA 6-2, and LR 7-1, Defendants SOC LLC (“SOC”), SOC-
                                     24 SMG, Inc. (“SOC-SMG”), and Day & Zimmermann, Inc. (“Day & Zimmermann”) (collectively,

                                     25 “Defendants”) and Plaintiffs Nicholas DeFiore et al. by and through their respective counsel of

                                     26 record, hereby stipulate and agree to the following:

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                                                 Case 2:20-cv-01981-JAD-DJA Document 9
                                                                                     8 Filed 11/06/20
                                                                                             11/05/20 Page 2 of 3



                                      1            1.   On October 19, 2020, Plaintiffs filed their Complaint against Defendants. See

                                      2   ECF No. 1-2. Plaintiffs purportedly served the Summons and Complaint on SOC and Day &

                                      3   Zimmermann on October 23, 2020. Plaintiffs have not yet served SOC-SMG.

                                      4            2.   Defendants removed this action to this Court on October 26, 2020. See ECF

                                      5   No. 1.

                                      6            3.   Defendants’ answer or response to the Complaint is, therefore, due on November

                                      7   13, 2020. See Fed. R. Civ. P. 81(c).

                                      8            4.   Plaintiffs and Defendants agree that Defendants shall have up to and including

                                      9   November 20, 2020, to answer or otherwise respond to Plaintiffs’ Complaint.

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Las Vegas, NV 89169-5996




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                                                                                     8 Filed 11/06/20
                                                                                             11/05/20 Page 3 of 3



                                      1            5.    This is the first request for an extension of time to answer or respond to the

                                      2   Complaint. The extension is requested in good faith to provide Defendants with sufficient time

                                      3   to review Plaintiffs’ allegations with counsel and to answer or otherwise respond to the

                                      4   Complaint.

                                      5            DATED this 5th day of November, 2020.

                                      6
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                                                                                             *Pro Hac Vice Pending
                                     20
                                                                                             Attorneys for Defendants
                                     21

                                     22                                         ORDER
                                     23            IT IS SO ORDERED:
                                     24
                                                                                      _________________________________
                                                                                     __________________________________
                                     25                                               UNITED STATES DISTRICT JUDGE
                                                                                     UNITED STATES MAGISTRATE JUDGE
                                     26                                               DATED: ________________________
                                                                                     DATED: November 6, 2020
                                     27

                                     28

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